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                                                                                                       FILED
                                                                                                    U.S. District Court
                                                                                                    District of Kansas



                     UNITED STATES DISTRICT COURT                                                  MAY O9 2023
                                                for the                                    ~ler~     -~ trict Court
                                          District of Kansas                                Y           ~     Deputy crerr<



     COI Robe1i Craft,
           Petitioner,
                                                            Case No:   6:23-cv-1081-JAR-GEB
     V.

     CSI Jacob Townsend,
     CSI John Linneman,
     Administrator Teresa Glendening,
     Warden Hazel Peterson, and
     Deputy Secretary of Facilities
     Management Joel Hrabe

             Defendants
     - - - - - - - - - - -I



                COMPLAINT FOR DECLARATORY AND COERCIVE RELIEF

I.        The Parties to This Complaint

          1. Plaintiff

            Name: Corrections Officer I (COI) Robe1i Louis Craft (hereinafter Plaintiff)

            Capacity: in the official capacity of a sworn State of Kansas Depaiiment of
            Corrections Public Employee/Officer/Agent

            Address: 209 N Oak St
            City and County: Stockton; Rooks
            State and Zip Code: Kansas; 67669
            Phone: 941-270-0938
            Email: craft.kdoc@gmail.com

          2. Defendant(s)

            Name: Corrections Supervisor I (CSI) Jacob Townsend (hereinafter Defendant 1)

            Capacity: in the official capacity of a sworn State of Kansas Department of
            Corrections Public Employee/Officer/Agent

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Address: 1215 S Cedar St
City and County: Stockton; Rooks
State and Zip Code: Kansas; 67669
Phone: 785-425-6745
Email: jacob.townsend@ks,gov



Name: Corrections Supervisor I (CSI) John Linneman (hereinafter Defendant 2)

Capacity: in the official capacity of a sworn State of Kansas Department of
Corrections Public Employee/Officer/Agent

Address: 1215 S Cedar St
City and County: Stockton; Rooks
State and Zip Code: Kansas; 67669
Phone: 785-425-6745
Email: j ohn.linneman@ks,gov



Name: Administrator Teresa Glendening (hereinafter Defendant 3)

Capacity: in the official capacity of a sworn State of Kansas Department of
Corrections Public Employee/Officer/Agent

Address: 1215 S Cedar St
City and County: Stockton; Rooks
State and Zip Code: Kansas; 67669
Phone: 785-425-6745
Email: teresa.glendening@ks.gov



Name: Warden Hazel Peterson (hereinafter Defendant 4)

Capacity: in the official capacity of a sworn State of Kansas Department of
Corrections Public Employee/Officer/Agent

Address: 11130 Road E4
City and County: Norton; Norton
State and Zip Code: Kansas; 67654-0546
Phone: 785-877-6654/785-877-3389
Email: hazel.peterson@ks.gov



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         Name: Deputy Secretary of Facilities Management Joel Hrabe (hereinafter
         Defendant 5)

         Capacity: in the official capacity of a sworn State of Kansas Department of
         Corrections Public Employee/Officer/Agent

         Address: 714 SW Jackson, Suite 300
         City and County: Topeka; Shawnee
         State and Zip Code: Kansas; 66603
         Phone: 785-746-7542/785-746-7596
         Email: kdoc facility management@ks.gov




II.    Basis for Jurisdiction

      1. This honorable United State District Court for the District of Kansas's (hereinafter

         USDC DOK) power and authority is established by Article III Section I of the

         Constitution for the United States of America as an inferior trial Court of the Supreme

         Court of the United States and Section II "The judicial Power shall extend to all

         Cases, in Law and Equity, arising under this Constitution, the Laws of the United

         States."

      2. USDC DOK holds original jurisdiction as specificied in 28 USC 85 § 1331. The

         Plaintiff's, in the capacity of a sworn by-oath Public Employee/Officer/Agent

         (hereinafter Public Officer), actions were an exercise of constitutional rights. The

         Plaintiff's exercise of, punishment for, and deprivation of constitutional rights were in

         the interest of performing public duties and protecting his Person and Property from

         civil and/or criminal liability.

      3. The Defendants (1 and 2 and 3 and 4 and 5) are also constitutionally sworn Public

         Officers with individual linear Public and Public Officer duties and responsibilities


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   for which they are expected to perform with reasonable expectations of good

   government in the interest of public service.

4. The Plaintiff requests, based on the elemental facts regarding this controversy, this

   honorable Court acknowledge and accept original jurisdiction.

5. Basis for jurisdiction regarding provisions of the Constitution for the
   United States.
        i. Constitution for the United States
           1. Preamble: Secure the blessings of liberty
           2. Article VII: "all executive and judicial Officers, both of the
               United States and of the several States, shall be bound by Oath
               or Affirmation, to support this Constitution;"
           3. Amendment I: "respecting an establishment of religion, or
               prohibiting the free exercise thereof'
           4. Amendment I: "abridging the freedom of speech"
           5. Amendment I: "petition the Government for a redress of
               grievances."
           6. Amendment V: "No person shall" (nor) "be deprived of life,
               liberty, or property, without due process of law"
           7. Amendment VI: "to be informed of the nature and cause of the
               accusation; to be confronted with the witnesses against him; to
               have compulsory process for obtaining witnesses in his favor,
               and to have the Assistance of Counsel for his defense."
6. Supporting Constitution of the State of Kansas Principles derived from
   the Constitution for the United States.
        i. Constitution of the State of Kansas
             1. Ordinance
                 a. "WHEREAS, The government of the United States is the
                     proprietor of a large portion of the lands included in the
                     limits of the state of Kansas as defined by this
                     constitution;"
             2. Preamble
                 a. "We, the people of Kansas, grateful to Almighty God for our
                     civil and religious privileges, in order to insure the full
                     enjoyment of our rights as American citizens"
             3. Bill of Rights
                 a. "§ 1. Equal rights. All men are possessed of equal and
                     inalienable natural rights, among which are life, liberty,
                     and the pursuit of happiness"
                 b. § 3. "to petition the government, or any department
                     thereof, for the redress of grievances."
                 c. § 7. Religious liberty; property qualification for public
                     office.
                     1. "The right to worship God according to the dictates of
                         conscience shall never be infringed"


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                                   11."nor shall any control of or interference with the
                                      rights of conscience be permitted,"
                               d. § 10. "No person shall be a witness against himself, or be
                                  twice put in jeopardy for the same offense."
                               e. § 11. "All persons may freely speak, write or publish their
                                  sentiments on all subjects, being responsible for the
                                  abuse of such rights; and in all civil or criminal actions
                                  for libel, the truth may be given in evidence to the jury"
                               f. § 18. Justice without delay. "All persons, for injuries
                                  suffered in person, reputation or property, shall have
                                  remedy by due course of law, and justice administered
                                  without delay."
III.       Factual Presumptions

       Petitioner

       1. The Petitioner was a Public Officer of the State of Kansas Department of Corrections

              as of November 28, 2022.

       2. The Petitioner has a lawfully executed contract with the People of the United States

              of America and the People of the State of Kansas to act in an official capacity in the

              public interest as a Public Officer.

       3. The Petitioner willfully and knowingly understands the executed aforementioned

              Public and Public Officer Contract with full understanding and capacity that

             execution bound the Petitioner in public service.

       4. The Petitioner willfully and knowingly understands he is personally liable civilly and

             criminally for every duty, decision, and/or action at ALL times by Public expectation,

             award, and benefit establishing a higher standard of responsibility than a non-oath

             sworn Person.

       5. The Petitioner willfully and knowingly understands the executed oath to "Support the

             Constitution of the United States 1, "in essence, converted the Petitioner's


       1   Kansas Statute 54-106. Form of oath to be taken by officer


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   Personal/Individual Constitutional Rights into Constitutional Duties to be exercised

   for Public Interest when necessary and proper.

6. The Petitioner willfully and knowingly understands in the official capacity of a Public

   Officer has an expectant to be awarded Public Treasury Funds and Benefits for Public

   Service.

7. The Petitioner willfully and knowingly understands the aforementioned executed

   contractual relationship between the Public and Petitioner is superior to all

   subsequent laws, acts, statutes, contract elements, law doctrine, legal doctrine,

   policies, procedures, guidelines, directives, and/or orders.

Defendants 1 and 2 and 3 and 4 and 5

8. The Defendants are Employees/Officers/Agents of the State of Kansas Department of

   Corrections.

9. The Defendants have a lawfully executed contract with the People of the United

   States of America and the People of the State of Kansas to act in an official capacity

   in the public interest as a Public Employee/Officer/Agent.

10. The Defendants willfully and knowingly understand the executed aforementioned

   Public and Public Officer Contract with full understanding and capacity that

   execution bound the Defendants in public service.

11. The Defendants willfully and knowingly understand they are personally liable civilly

   and criminally for every duty, decision, and/or action at ALL times by Public

   expectation, award, and benefit establishing a higher standard of responsibility than a

   non-oath sworn Person.




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      12. The Defendants willfully and knowingly understand the executed oath to "Support the

         Constitution of the United States2 " in essence converted the Defendants'

         Personal/Individual Constitutional Rights into Constitutional Duties to be exercised

         for Public Interest when necessary and proper.

      13. The Defendants willfully and knowingly understand in the official capacity of a

         Public Officer has an expectant to be awarded Public Treasury Funds and Benefits for

         Public Service.

      14. The Defendants willfully and knowingly understand the aforementioned executed

         contractual relationship between the Public and the Defendants is superior to all

         subsequent laws, acts, statutes, contract elements, law doctrine, legal doctrine,

         policies, procedures, guidelines, directives, and/or orders.

      15. The Defendants willfully and knowingly understand their positions are of a higher

         pay grade and rank in nature than the Plaintiff and therefore have a greater

         responsibility and public expectation to Lawfully perform ALL duties and

         responsibilities under the color of law.

IV.      Statement of Claim

      16. On March 10, 2023, Plaintiff verbally addressed another Public Officer regarding

         concerning behavior that was considered aggressive and of poor conduct toward the

         Plaintiff and Inmates at Norton Correctional Facility- East Unit (a:k:a Stockton

         Correctional Facility or SCF) (hereinafter NCF-EU).




  2   Kansas Statute 54-106. Form of oath to be taken by officer


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    17. The Officer refused to participate in being addressed verbally, by ending the

       conversation and arbitrarily dismissing the concerns being brought forward.

18. On March 11, 2023, at 3:54 pm the Plaintiff exercised his 1st Amendment right by

       emailing the Officer a Statement of Position regarding the prior events and gave the

       Officer an opportunity to clarify or take responsibility for the concerning behavior

       brought to his attention.

19. On March 12, 2023, at approximately 4 pm, upon the Plaintiff arriving at NCF-EU

       for duty, Plaintiff was summoned to the Shift Office by Defendant 1 and Defendant 2.

20. A verbal meeting took place where the Plaintiff was advised the rules do not apply

       while working at NCF-EU and the Plaintiff has no rights or protections as a Public

       Officer. The Plaintiff will keep his mouth shut and not write anything down or pursue

       any complaints.

21. On March 14, 2023, at 2:56 pm Plaintiff exercised his 1st Amendment Right and

       sent both Defendant 1 and Defendant 2 a summary of the elements 3 of the verbal

       meeting held on March 12, 2023. No clarification or response was ever provided

       regarding the events associated with the meeting. Defendant 1 or Defendant 2 ignored

       the emailed summary. Therefore without clarification or objection to the contents of

       the summary.

22. It is reasonable to believe, based on the subsequent actions of all Defendants, was a

       demonstration of the contents of the summary; therefore, Plaintiff must believe the

       contents and elements were, in fact, undisputed and true.




3   Craft - Summary of Meeting on March 12, 2023


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23. On March 31, 2023, Plaintiff was brought into the shift office at NCF-EU and

    administered an In-formal Discipline (Letter of Counseling) (hereinafter LOC) by

    Defendant 1.

24. The issuing of the discipline was in violation of the Plaintiffs 5th Amendment Right to

    Due Process, which was also supported as a reference in the KDOC IMPP 02-120D4

    "Policy Statement," declaring the purpose to "ensure each employee's right to due

    process."

25. The LOC was issued without a formal fact-finding investigation, skipping the first

    level of the discipline process, which is "coaching and feedback," and the Plaintiff

    was never offered a "due process 5 " hearing.

26. The LOC was sent up the chain of command seeking additional stacked discipline by

    Defendant 3 and Defendant 4, which is an action that violates Plaintiffs rights to

    protection from double jeopardy (stacked discipline) by being punished multiple

    times for the same infraction.

27. The Plaintiff was deprived of the right "to be heard6 " or a chance to defend his good

    name from inappropriate, unsubstantiated, defamatory, and libel accusations.

28. The context of the LOC issued by Defendant 1 openly admits it was issued in

    retaliation for the Plaintiff exercising his 1st Amendment to speak freely, exercise his

    duties in addressing concerns regarding controversial behavior of Public Officers to

    Inmates, abridging the freedom of speech by punishment for the length of emails to

    limit providing detailed expressions in writing,


4 KDOC IMPP 02-120D: HUMAN RESOURCES: Employee Disciplinary Procedures

and Informal/Formal Actions
5 5th Amendment of the Constitution
6 Kansas Administrative Regulation 1-7-7. Dismissal of probationary employee by director.



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29. Defendant 1, was in a supervisory role with a higher level of power and authority

    over Plaintiff and was specifically exercising retaliatory, coercive, intimidating, and

    oppressive tactics to deprive Plaintiff of his Rights under the Color of Law.

30. On April 6, 2023, at 6:29 PM the Plaintiff exercised his 1st Amendment Right to

    Petition for redress of grievance by having Defendant 1 served by the Rooks County

    Sheriffs Office a Notice to Bring Suit for the administration of the LOC issued on

    March 31, 2023

31. In the Notice of Intent to Bring Suit, for reparation of damages, the Petitioner

   requested Defendant 1 rescind the LOC and provide a written Apology accepting

   responsibility for his previous actions that were damaging to Plaintiffs personal and

   Public Officer reputation. The Notice went ignored, and the retaliation and

   deprivation of rights escalated.

32. On April 6, 2023, at 9:01 PM Plaintiff sent an email to Defendant 4 requesting a

   conference to discuss the LOC and the elements surrounding the recent controversies.

   The request to confer was ignored by Defendant 4 and all other inferior Public

   Officers.

33. On April 10, 2023, at approx. 12:30 PM Plaintiff was summoned to the NCF-EU

   facility on his day off by Defendant 3. Upon arrival, Defendant 2 and Defendant 3

   served Plaintiff a "Notice of Dismissal" executed by Defendant 4. Plaintiff turned in

   KDOC identification and issued handcuffs, then left the facility.

34. Notice of Dismissal did not give a cause and was administered with willful and

   wanton disregard of the Plaintiffs 5th Amendment right to Due Process.




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35. On April 11, 2023, Plaintiff drove to the KDOC headquarters in Topeka, Kansas in

    an attempt to notify an Executive Administrator of the recent events, the deprivation

    of Plaintiffs rights under the color of law, and an attempt to seek some kind of fair

    and just resolution. Plaintiff left a message for Defendant 5 with the front desk.

36. On April 11, 2023, at 5:54 PM Plaintiff had an 8 min phone conversation with

    Defendant 5 explaining the recent events, the fact that Plaintiff has followed every

    policy and procedure, and has been dismissed for exercising his rights without any

    form of due process. Defendant 5 advised Plaintiff to write a letter to Defendant 4,

    and he would inquire into the situation and contact Plaintiff with follow-up. No

    follow-up was ever executed by Defendant 5.

37. April 14, 2023, Plaintiffs "Response to Dismissal" letter was delivered and signed

    for by the USPS.

3 8. The "Response to Dismissal" elements expressed the Plaintiff was deprived of a right

   to due process (to be heard),

39. The Plaintiff was not aware of actual policy or procedures violations leading to

    discipline and dismissal, and

40. Plaintiff referenced ADHD condition that Plaintiff has been extremely open and

   honest about. Plaintiff again requested a meeting to confer regarding the recent

   events. Clearly expressed an enumerated list of rights and duties that are associated

   with the recent associated actions of All Defendants.

41. Declaring that due to Plaintiffs Religious/Spiritual beliefs, his pledge and principles

   especially managing controversies and conflicts, the requirement for continuous self-




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    examination, and personal accountability to maintain Plaintiffs responsibility of

    conscience and soul.

42. The Plaintiff was specific to the following Religious Principles; "do to others as you

    would have them do to you." (Mathew 7:12; Luke 6:31); assertion of"rights in

    defense responses should it be necessary and proper"; "not idly stand by or turn a

    blind eye to unethical or immoral behavior, especially on inmates who are not trained

    and cannot defend themselves for which I am sworn to be personally responsible."

    both civilly and criminally; "A Person can only be King of their own Soul, and we are

   not responsible for what happens to us but are responsible for how we respond." And

   "in the name of Justice alone I will be forced to proceed in seeking reconciliation to

   "render therefore to all their due" (Romans 13:7 KJV 1611) in bringing chaos into

    order."

43. Plaintiff (hereinafter I)" agreed to sell my time and labor. I did not negotiate my

   conscience or soul, nor did I agree to relinquish any rights or protections afforded by

   my creator as I understand it, my Bill of Rights, or any other applicable subsequent

   legislative doctrine which has come into law, act, statute, policy or procedure;

   therefore, I retain and reserve all rights and privileges."

44. On April 16, 2023, at 11:05 AM Plaintiff emailed Defendant 5 an update and a copy

   of the "Response to Dismissal" delivered to Defendant 4. Plaintiff has received no

   correspondence and believes. Defendant 5 has chosen the action of disregard as his

   formal response.

45. April 20, 2023, at 1:23 PM Plaintiff emailed NCF Human Resources requesting a

   copy of his personnel file. Plaintiffs request went ignored.



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46. April 28, 2023, at 11:19 AM Plaintiff again emailed NCF Human Resources

    requesting a copy of his personnel file. Plaintiffs request has gone ignored.

47. April 28, 2023, at 1:06 PM Plaintiff received a letter by USPS from Defendant 4 that

    Plaintiffs Response to Dismissal from April 14, 2023 was received, Plaintiff was

    dismissed under K.A.R. 1-7-3 "Any probationary employee," "may be dismissed by

    the appointing authority any time during the probationary period."

48. The letter does not provide a cause, nor does it address the repeated notices of failure

    to adhere to Plaintiffs 5th Amendment Rights of due process.

49. Defendant 4's interpretation and application of K.A.R. 1-7-3 7 is inappropriate as the

    regulation only declares the power to do an act of dismissal, but K.A.R. 1-7-78 and

    KDOC IMPP 02- l 20D 9 declare the limitations and prerequisites prior to dismissal

    specifically acknowledging Plaintiffs 5th Amendment right to be heard (due process)

    prior to discipline and/or dismissal even on Probation.

50. Defendant 4 cherry-picked a cited expression for which has no application and,

    together with all other responsible participating parties, refused to act in due regard,

    but proceeded with reckless disregard for constitutional rights and protections.

51. Plaintiff believes it is reasonable to conclude, based on Defendant 1 and Defendant

    2's expressions and commands in the verbal meeting on March 12, 2023

    (Enumeration 20) plus all other associated actions of each Defendant, coercion,

    intimidation, willful and wanton reckless disregard of rights and law, negligence,




7 1-7-3. Probationary period required.
8 Kansas Administrative Regulation 1-7-7. Dismissal of probationary employee by director
9 KDOC IMPP 02-120D: HUMAN RESOURCES: Employee Disciplinary Procedures

and Informal/Formal Actions

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        malfeasance, conspiracy, and collusive behavior under the color of law has been

        standard practice in the conduction and application of the associated Public Officers.

     52. Plaintiff believes that a government of good People will be good, and a government

        of bad People will be bad; therefore, it is the Public Officers who are met with

        controversies that must act as guardians of the People and exercise their

        Constitutional Duties.

V.      Claims against Defendants

     53. Defendant 1:

               a. March 12, 2023:

                          1.   Interference in 5th Amendment Right to Liberty of Contract

                               between the Public and Plaintiff.

                         11.   retaliation in an attempt to deprive Plaintiff of Exercising 1st

                               Amendment right under the color of law by using tactics of

                               subjugation, coercion, intimidation, and collusion with

                               Defendant 2.

                        111.   Conspiracy to Deprive Plaintiff of 1st and 5th Amendment right

                               under color of law

               b. March 31, 2023

                         1.    retaliation in an attempt to deprive Plaintiff of Exercising 1st

                               Amendment right under the color of law by using tactics of

                               subjugation, coercion, and intimidation.

                        11.    deprive Plaintiff of Exercising 5th Amendment right under the

                               color of law issuing discipline disregarding right to due process.



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                   111.   Interference in 5th Amendment Right to Liberty of Contract

                          between the Public and Plaintiff

54. Defendant 2:

           a. March 12, 2023

                     1.   Interference in 5th Amendment Right to Liberty of Contract

                          between the Public and Plaintiff.

                    11.   retaliation in an attempt to deprive Plaintiff of Exercising 1st

                          Amendment right under the color of law by using tactics of

                          subjugation, coercion, intimidation, and collusion with

                          Defendant 2.

                   111.   Conspiracy to Deprive Plaintiff of 1st and 5th Amendment right

                          under color of law

           b. April 10, 2023

                     1.   Conspiracy to Deprive Plaintiff of 1st and 5th Amendment right

                          under color of law with Defendant 3 and Defendant 4.

                    11.   retaliation in an attempt to deprive Plaintiff of Exercising 1st

                          Amendment right under the color of law

                   111.   Interference in 5th Amendment Right to Liberty of Contract

                          between the Public and Plaintiff.

55. Defendant 3:

          a. April 10, 2023

                    1.    Conspiracy to Deprive Plaintiff of 1st and 5th Amendment right

                          under color of law with Defendant 2 and Defendant 4.



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                    11.   retaliation in an attempt to deprive Plaintiff of Exercising I st

                          Amendment right under the color of law Interference in 5th

                          Amendment Right to Liberty of Contract between the Public and

                          Plaintiff.

56. Defendant 4:

           a. April 10, 2023

                     1.   Conspiracy to Deprive Plaintiff of I st and 5th Amendment right

                          under color of law with Defendant 2 and Defendant 3.

                    11.   retaliation in an attempt to deprive Plaintiff of Exercising I st

                          Amendment right under the color of law

                   111.   Interference in 5th Amendment Right to Liberty of Contract

                          between the Public and Plaintiff.

           b. April 24, 2023

                     1.   retaliation in an attempt to deprive Plaintiff of Exercising I st

                          Amendment right under the color of law

                    11.   Interference in 5th Amendment Right to Liberty of Contract

                          between the Public and Plaintiff.

                   111.


57. Defendant 5:

          a. April 11, 2023

                    1.    Conspiracy to Deprive Plaintiff of I st and 5th Amendment right

                          under color of law with Defendant 4




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                      11.   Interference in 5th Amendment Right to Liberty of Contract

                            between the Public and Plaintiff.

            b. April 16, 2023
                  1.    Conspiracy to Deprive Plaintiff of 1st and 5th Amendment right

                            under color of law with Defendant 2 and Defendant 3.

                      11.   retaliation in an attempt to deprive Plaintiff of Exercising 1st

                            Amendment right under the color of law

                     111.   deprive Plaintiff of Exercising 5th Amendment right under the

                            color of law by issuing discipline disregarding the right to due

                            process.

                     1v.    Interference in 5th Amendment Right to Liberty of Contract

                            between the Public and Plaintiff.

VI.      Relief

      48. Declaratory Judgement of Fact

            1. A superior contract does, in fact, exist between the Public and Plaintiff

            2. The Public and Plaintiffs contract in essence, converts the Plaintiffs

                  Constitutional Rights to Constitutional Duties.

            3. The Public has an interest and expectation to the application and

                  adherence of Person/Individual Rights of ALL Public Officers (Federal,

                  State, and Local) to exercise their Constitutional Rights when necessary

                  and proper in the interest of the Public.

            4. The Public and Public Officer superior contract does bestow Public

                  Officer's with a property right to that union.




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                5. Public Officers are awarded public treasury funds and benefits for

                    continuous fulfillment of expectations of duties and responsibility under

                    the color of law.

                6. A Public Officer's oath to "support the Constitution of the United States 1110

                    and public treasury awards and benefits bestows a higher expectation on

                    All Public Officers (Federal, State, and Local) as opposed to non-sworn

                    Persons.

                7. All collectively bargained and/or individual employment contracts for

                    public service assignments (Federal, State, and/or Local) are

                    considered inferior and subject to the superior executed Public and

                    Public Officer contract expectations and responsibilities.

                8. There is a controversy that exists between the Plaintiff and the Defendants

               9. The Plaintiff does have cause to bring Judicial action against the

                    Defendants

                10. The Plaintiff was Deprived of Constitutional Rights by Defendants under

                    the color of law.

                11. The Defendants' actions did interfere in Plaintiffs 5th Amendment right to

                    Liberty of Contract.

               12. The Defendants' actions were conducted with willful and wanton disregard

                   for duties and responsibilities as Public Officers'.

               13. The Defendants' actions were done with malice against Plaintiff.




10   Kansas State Statute 54-106. Form of oath to be taken by officer.

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   49. Coercive Remedy

          1. The Public is concerned enough regarding the Defendants' actions to issue

                a Declaration of Fact that each Defendant does not have or refuses to

                fulfill the duties and responsibilities of a Public Officer in Good service to

                the Public interest; therefore, the Defendants' are declared incapacitated

                until such time as a subsequent Jury renders each Defendant as redeemed

                and has been found again worthy of Public Trust.

          2. The Public and Plaintiff union shall be reconstituted, and all previously

                deprived and currently due public treasury awards and benefits shall be

                immediately dispursed in perpetuity until such time as they are no longer

                due under the color of law.

VII.   Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of

          my knowledge, information, and belief that this complaint: (1) is not being presented

          for an improper purpose, such as to harass, cause unnecessary delay, or needlessly

          increase the cost of litigation; (2) is supported by existing law or by a nonfrivolous

          argument for extending, modifying, or reversing existing law; (3) the factual

          contentions have evidentiary support or, if specifically so identified, will likely have

          evidentiaty support after a reasonable opportunity for further investigation or

          discovery; and (4) the complaint otherwise complies with the requirements of Rule

          11.




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                                       Certificate of Service

        I HEREBY CERTIFY that a true copy of the foregoing will be served in

  accordance with FEDERAL RULES OF CIVIL PROCEDURE Rule 5 Serving and

  Filing Pleadings and Other Papers.




                                                                    Robert Louis Craft
                                                                     (Pro Se Petitioner)
                                                                          209N Oak St
                                                                   Stockton, KS 67669
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